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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


Civil Action No.: 1:22-cv-02142-NYW

CRUSOE ENERGY SYSTEMS LLC, a Delaware limited liability company,

                  Plaintiff,

         v.

ALKANE MIDSTREAM LLC, a Delaware limited liability company,

                  Defendant.


                                DECLARATION OF RYAN SUGDEN

I, Ryan Sugden, declare as follows:

         1.       I am an attorney with the law firm of Stinson, LLP, counsel for Alkane Midstream

LLC. I am admitted to practice in the District of Colorado.

         2.       This declaration relates to certain supporting documents referred to in Alkane’s

Opposition to Plaintiff Crusoe Energy Systems LLC’s Motion for a Temporary Restraining

Order, which were attached to the Opposition.

         3.       Attached as Exhibit 4 to the Opposition is a true and correct copy of U.S. Pat.

App. Pub. No. 2020/0051184.

         4.       Attached as Exhibit 5 to the Opposition is a true and correct copy of an article

titled “Natural gas venting: How Bitcoin solved a 160 year old problem,” published June 16,

2019 in which Upstream Data introduced the Ohmm Combo mining datacenter in 2017,

available at https://blog.upstreamdata.ca/natural-gas-venting-how-bitcoin-solved-a-160-year-old-

problem/.



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         5.        Attached as Exhibit 6 to the Opposition is a true and correct copy of an article

titled “Cryptocurrency Mining Operation Launched by Oil and Gas Producer Iron Bridge

Resources,” published January 22, 2018, which introduces the Iron Chain Technology Corp.’s

pilot         cryptocurrency        mining         and     hosting        plant,    available       at

https://www.globenewswire.com/news-release/2018/01/22/1298376/0/en/Cryptocurrency-

Mining-Operation-Launched-by-Oil-and-Gas-Producer-Iron-Bridge-Resources.html.

         6.       Attached as Exhibit 7 to the Opposition is a true and correct copy of June 6, 2018

meeting minutes from the Three Affiliated Tribes Tribal Business Council, NRC – Oil & Gas

Committee, during which the conversion of flare gas to mine Bitcoin and other cryptocurrencies

was                             discussed,                         available                        at

https://static1.squarespace.com/static/5a5fab0832601e33d9f68fde/t/5daf5065ec8b0c18a5011c57/

1571770471035/2018-06-06+NRC+O%26G+Minutes+Without+Closed+Session+Certified.pdf.

         7.       Attached as Exhibit 8 to the Opposition is a true and correct copy of an article

titled “Texas’ natural gas problem could be a boon for bitcoin,” published October 8, 2018,

discussing      using     natural   gas   flares   to    mine   bitcoin   in   Texas,   available   at

https://cryptoinsider.media/texas-natural-gas-problem-bitcoin/.

         8.       Attached as Exhibit 9 to the Opposition is a true and correct copy of an

informational webpage about The Flarepod®, described as a “proprietary solution” that “takes

advantage of state of the art mining hardware and high-efficiency energy generation for onshore

and offshore mining, which utilizes flare gas as the energy source, published August 6, 2018,

available at https://web.archive.org/web/20180806225918/http://flaremining.com/.




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         9.        Attached as Exhibit 10 to the Opposition is a true and correct copy of an article

titled “Tidewater Midstream sees a path to $10 million in earnings from crypto mining,”

published March 22, 2018, available at https://www.jwnenergy.com/article/2018/3/22/tidewater-

midstream-sees-path-10-million-earnings-/#:~:text=Investment%20Oil%20%26%20Gas-

,%E2%80%8BTidewater%20Midstream%20sees%20a%20path%20to,in%20earnings%20from

%20crypto%20mining&text=Tidewater%20Midstream%20expects%20to%20generate,getting%

20in%20on%20crypto%20mining.

         10.       Attached as Exhibit 11 to the Opposition is a true and correct copy of an article

titled “Puissant Industries Inc. (OTC Pink: PSSS) Announces Expansion of its Energy

Operations,” published January 30, 2018, available at https://finance.yahoo.com/news/puissant-

industries-inc-otc-pink-120100781.html?guccounter=1.

         11.       Attached as Exhibit 12 to the Opposition is a true and correct copy of an article

titled “Texas Oil Producers Could Channel Excess Gas into Bitcoin Mining Operations,” in

which a Bernstein team of analysts discusses flaring natural gas at the Permain Basin in Texas to

power Bitcoin and other cryptocurrency mining operations, published April 21, 2018, available

at             https://crypto.news/texas-oil-producers-could-channel-excess-gas-into-bitcoin-mining-

operations/#:~:text=A%20handful%20of%20forward-

thinking%20Wall%20Street%20analysts%20have,and%20other%20cryptocurrencies.%20Gas%

20Flaring%20to%20Bitcoin%20Mining.

         12.       Attached as Exhibit 13 Opposition is a true and correct copy of an article titled

“When and How to Design Parallel Generators,” providing insights into designing parallel

generators to “ensure that generators and the building electrical systems that they support are



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appropriate       for      the   specific   application,”   published    June     21,    2018     at

https://www.csemag.com/articles/when-and-how-to-design-parallel-generators.

         I declare under penalty of perjury that the foregoing is true and correct to the best of my

information and knowledge.

         Executed on September 7, 2022.

                                                    s/ Ryan M. Sugden
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